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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF MAINE


ASSOCIATION TO PRESERVE                  )
AND PROTECT LOCAL                        )
LIVELIHOODS, et al.,                     )
                                         )
             Plaintiffs,                 )
                                         )
      v.                                 )             No. 1:22-cv-00416-LEW
                                         )
TOWN OF BAR HARBOR,                      )
                                         )
             Defendant.                  )


    EXPEDITED SCHEDULING ORDER with incorporated Rule 26(f) Order

      Following a conference of counsel and in accordance with Fed. R. Civ. P. 16(b) and

the Cost and Delay Reduction Plan for the District of Maine, the Court establishes the

following expedited schedule for this matter. All dates are in 2023.

      Deadlines for Motion to Consolidate Preliminary Injunction Hearing with Trial:

             March 24 for motion

             April 14 for response

             April 21 for reply

      Deadline for Amendment of the Pleadings and Joinder of Parties:

             April 7

      Deadlines for Defendant-Intervenor’s Motion to Dismiss:

             April 4 for response

             April 18 for reply
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         Deadline for Defendant-Intervenor to Answer:

                  April 21

         Deadlines for Discovery:

                  March 31 for initial disclosure

                  April 7 for expert designation 1

                  April 19 for rebuttal expert designation

                  May 31 for completion of discovery 2

         Deadlines for Filing of Daubert and Kumho Motions:

                  June 2 for motions

                  June 9 for responses

                  June 16 for replies

         Deadlines for Witness Lists:

                  May 26 for witness list exchange

                  June 2 for objections

         Deadline for Proposed Stipulations:

                  June 5

         Deadlines for Motions in Limine:



1 All parties shall provide a complete statement of all opinions to be expressed and the basis and reasons therefor. If
the expert is retained or specially employed to provide expert testimony in the case or the expert’s duties as an
employee of a party regularly involve giving expert testimony, the disclosure shall also include the other categories
of information specified in Fed. R. Civ. P. 26(a)(2)(B). All required information may, but need not, be provided in
the form of a written report prepared and signed by the expert.

2 Counsel are advised that absent some excusable circumstance, depositions will be noticed and discovery initiatives
will be undertaken so that the depositions will be completed and discovery responses will be produced prior to the
discovery deadline.


                                                          2
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            June 16 for motions

            June 23 for responses

            No replies

     Pretrial Conference Date:

            June 30

     Pretrial Proposed Order:

            Not requested

     Expected Trial Date:

            Trial will be scheduled in July

     Post-Trial Briefing:

            TBD

     So ORDERED.

     Dated this 17th day of March, 2023.

                                         /s/ Lance E. Walker
                                        UNITED STATES DISTRICT JUDGE




                                              3
